       CASE
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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,


v.                                       ORDER
                                         Criminal File No. 05-282 (MJD/JJG)


(1) CHRISTOPHER WILLIAM SMITH,

               Defendant.
________________________________________________________________

        In accordance with the Court’s oral ruling at the hearing on May 1, 2006, IT

IS HEREBY ORDERED that:

        Defendant Christopher William Smith shall remain at Minnesota
        Correctional Facility-Oak Park Heights and be subject to the following
        conditions:

        1.    Defendant Smith shall be held in a self-contained cell within the
              administrative control unit (“ACU”) in order to restrict interaction
              with other prisoners.

        2.    Defendant Smith is permitted to meet in person with all licensed
              attorneys employed by Joseph S. Friedberg, Chartered, including
              Joseph Friedberg, Lisa Lodin Peralta, and Casey Oppenheim.
              Defendant Smith shall have no other visitation privileges.

        3.    Defendant Smith shall only be permitted to make telephone calls to
              his attorney, Joseph Friedberg. No other telephone privileges are
              permitted.

        4.    Defendant Smith shall only send outgoing mail to his attorney,
              Joseph Friedberg, at the following address: Joseph S. Friedberg,
    CASE
  Case    0:05-cr-00282-MJD-JJGDocument
       0:05-cr-00282-MJD-JJG      Doc. 266-1
                                         266      Filed
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           Chartered; 150 South 5th Street; Suite 320; Minneapolis, Minnesota
           55402. Defendant Smith shall have no other outgoing mail
           privileges.

     5.    Defendant Smith shall only receive mail from his attorney, Joseph
           Friedberg, his mother, Candace Meili, his father, Scott Smith, his
           stepfather, Fritz Meili, his wife, Anita Smith, and his child, MS.
           The mail from Christopher Smith’s family will be screened by
           the Government prior to being given to Christopher Smith.




Dated: May 2, 2006                          s / Michael J. Davis
                                            Judge Michael J. Davis
                                            United States District Court
